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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------- X
                                                             :
   UNITED STATES OF AMERICA,                                 :
                                                             : MEMORANDUM DECISION AND
                                       Plaintiff,            : ORDER
                                                             :
                         - against -                         : 21-cr-371 (BMC)
                                                             :
   AL MALIK ALSHAHHI, et al.,                                :
                                                             :
                                       Defendants.           :
                                                             :
  ---------------------------------------------------------- X

  COGAN, District Judge.

         Before the Court is defendants’ motion for reconsideration of the Court’s Memorandum

  Decision and Order which resolved various pretrial disputes. See United States v. Alshahhi, No.

  21-cr-371, 2022 WL 2239624 (E.D.N.Y. June 22, 2022). Shortly after entry of this Court’s

  decision, the Supreme Court decided Ruan v. United States, 142 S. Ct. 2370 (2022). In light of

  Ruan, defendants argue that the Court should reconsider its determination that the Government

  was not required to allege specific intent regarding the notification element in the superseding

  indictment.

         For the following reasons, motion is DENIED.

                                              ANALYSIS

         In Ruan, the Supreme Court overturned the convictions of two doctors for violating 21

  U.S.C. § 841. Section 841 makes it a federal crime, “[e]xcept as authorized . . . for any person

  knowingly or intentionally . . . to manufacture, distribute, or dispense . . . a controlled substance.”

  21 U.S.C. § 841(a) (emphasis added). Although, as doctors, the defendants could prescribe such

  substances to their patients, a prescription was only authorized when a doctor issued it “for a

  legitimate medical purpose . . . acting in the usual course of his professional practice.” 21 C.F.R.
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  § 1306.04(a). Interpreting the statute, the Supreme Court found that Section 841’s overt

  “knowingly or intentionally” mens rea applied to the statute’s “except as authorized” clause.

  Ruan, 142 S. Ct. at 2371.

          In doing so, Ruan reaffirmed and applied the principle that “when we interpret criminal

  statutes, we normally ‘start from a longstanding presumption, traceable to the common law, that

  Congress intends to require a defendant to possess a culpable mental state.’” Id. at 2377 (quoting

  Rehaif v. United States, 139 S. Ct. 2191, 2195 (2019)). This “culpable mental state” is

  “scienter” or “the degree of knowledge necessary to make a person criminally responsible for his

  or her acts.” Id. In recent years, the Supreme Court has increasingly concluded that, even when

  “not the most grammatical reading of the statute,” a statute’s scienter provision will apply to all

  its non-jurisdictional elements. Id. at 2379 (quoting United States v. X-Citement Video, 513

  U.S. 64, 70 (1994)).

          Ruan is the Supreme Court’s latest decision to opine on the applicability of this

  presumption of scienter for statutes that have a general scienter provision. See id. at 2379 (citing

  Liparota v. United States, 471 U.S. 419 (1985), X-Citement Video, 513 U.S. 64, and Rehaif, 139

  S. Ct. 2191). The distinguishing issue in Ruan was that unlike in these earlier cases, the statutory

  provision at issue was not an element, but a clause. Extending its earlier decisions, the Supreme

  Court determined that, in certain cases, a statute’s scienter provision may also apply to clauses

  that are “sufficiently like an element in respect to the matter at issue . . . as to warrant similar

  legal treatment.” Id. at 2380. Two concerns seem to have animated the Supreme Court’s

  decision to reach this conclusion with respect to Section 841.

          First, in Section 841 prosecutions, “a lack of authorization is often what separates

  wrongfulness from innocence.” Id. 2377. This is because of Section 841’s unique, burden-
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  shifting framework. A defendant who is otherwise authorized to dispense controlled substances,

  such as a doctor, first produces evidence that his conduct was authorized, at which point the

  burden shifts back to the Government. Once a defendant has met his burden, his conduct would

  presumptively be legal.

         This means, in some Section 841 prosecutions, that authorization is the only “thing

  distinguishing wrongful from proper conduct.” Id. at 2370. Because of this, the Supreme Court

  found that applying the statute’s general scienter provision to the authorization clause comported

  with precedent regarding reading explicit scienter clauses to modify “those other statutory terms

  that separate wrongful from innocent acts.” Id. at 2371 (internal quotations and citations

  omitted).

         Second, even if applying the statute’s scienter provision to its authorization clause

  required a defendant to have knowledge of the law, doing so was necessary to cure due process

  concerns. Despite the familiar maxim that ignorance of the law is no defense to prosecution, in

  prior decisions, the Supreme Court had relaxed this requirement where there was a risk of

  sweeping in “individuals who had no knowledge of the facts that made their conduct

  blameworthy.” Elonis v. United States, 575 U.S. 723, 735 (2015). This is because although a

  defendant need not “know that his conduct is illegal before he may be found guilty,” id., he must

  have a consciousness of wrongdoing, which requires that he have knowledge of “‘the facts that

  make his conduct fit the definition of the offense’ even if he does not know that those facts give

  rise to a crime.” Id. (quoting Staples v. United States, 511 U.S. 600, 608 n.3 (1994)).

         For example, in Liparota, the Supreme Court explained that “[a] strict reading of the

  statute with no knowledge-of-illegality requirement would thus render criminal a food stamp

  recipient who, for example, used stamps to purchase food from a store that, unknown to him,
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  charged higher than normal prices to food stamp program participants.” Liparota, 471 U.S. at

  426 (emphasis added). Similarly, in Rehaif, the problem was that a defendant would not “know

  that he is an alien ‘illegally or unlawfully in the United States’” and because he lacked

  knowledge of this fact, he would then not “have the guilty state of mind that the statute’s

  language and purposes require.” Rehaif, 139 S. Ct.at 2198.

         A statute’s vagueness, especially with regards to its elements that separate wrongful from

  innocent conduct, can exacerbate this problem. If a statue is ambiguous regarding exactly what

  conduct is prescribed, a defendant might not understand that his actions met this standard.

  Therefore, without a clear statement, or knowledge of the law to ensure scienter, it may become

  impossible to separate legal innocence from wrongful conduct.

         Because of ambiguity surrounding the sole clause separating wrongful from innocent

  conduct, Section 841 implicates these due process concerns. The Supreme Court noted that the

  regulation defining the bounds of authorization – a “doctor’s prescribing authority” – is both

  “vague” and “highly general.” Ruan, 142 S. Ct. at 2380. This meant that the “conduct

  prohibited by such language (issuing invalid prescriptions) is . . . ‘often difficult to distinguish

  from the gray zone of socially acceptable . . . conduct’ (issuing valid prescriptions).” Id. at 2378

  (quoting United States v. United States Gypsum Co., 438 U.S. 422, 441 (1978)). Therefore, in

  some instances, not requiring specific intent would risk “swe[eping] in individuals who had no

  knowledge of the facts that made their conduct blameworthy.” Elonis, 575 U.S. at 735 (internal

  quotations omitted). A defendant being prosecuted under Section 841 might not understand the

  bounds of what conduct was acceptable and might genuinely believe his conduct met this

  standard. Such a defendant would not know or understand the facts that gave rise to his violation

  of the law, and, barring specific intent, a line-drawing problem arises.
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           The statute at issue in the instant case – Section 951 – is readily distinguishable from

  Section 841. Most apparently, it does not contain a scienter provision. This does not mean that

  scienter is not required. Courts must also read scienter into statutes that are “silent on the

  required mental state” for all non-jurisdictional elements as well. Ruan, 142 S. Ct. at 2377. But

  where a statute is silent on mens rea, “the presumption in favor of scienter” might only require

  reading into the statute such “proof of general intent – that is, that the defendant possessed

  knowledge with respect to the actus reus of the crime.” Carter v. United States, 530 U.S. 255,

  268 (2000) (emphasis added). For that reason, this Court (in the decision under reconsideration

  here) and others have read into Section 951 a mens rea of general intent, meaning that a

  defendant must both know that he did not provide notice, and that he was acting as an agent, as

  defined by the statue. See United States v. Bailey, 444 U.S. 394, 405 (1980) (“knowledge”

  corresponds loosely with the concept of general intent); see also United States v. Duran, 596

  F.3d 1283 (11th Cir. 2010) (Section 951 is a general intent crime); United States v. Dumeisi, 424

  F.3d 566, 561 (7th Cir. 2005) (same).

           Construing Section 951 to require general intent as to the notification element is all that is

  required. 1 The Supreme Court’s holding in Ruan did not alter this. To the extent that Ruan

  required specific intent or knowledge of the law, as explained above, this was due to concerns

  unique to Section 841. Section 951 does not implicate the same type of due process concerns.

  Like in Section 841, illegality may turn solely on one element – here the notification element.

  However, unlike the authorization clause in Section 841, this element is a binary, with a clear

  standard of conduct. A defendant necessarily knows whether he provided notice without



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   Defendants’ argument that “Ruan demonstrated that the courts that have rejected a specific intent requirement for
  Section 951 reached that result by applying the exact opposite of the presumption of criminal intent required by the
  Supreme Court” is therefore incorrect.
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  referencing a standard of behavior provided by the law. Requiring specific intent as to the

  notification element would not separate legal innocence from wrongful conduct. Further, a

  defendant would necessarily have knowledge of “the facts that make his conduct fit the

  definition of the offense” even if he does not know that those facts give rise to a crime. Staples,

  511 U.S. at 608 n. 3. He consequently also has a legally adequate consciousness of

  wrongdoing. 2

           Moreover, because of the clarity of the notification element, Section 951 prosecutions, as

  a practical matter, typically turn on whether a defendant acted as an agent within the meaning of

  the statute. The Government has already alleged that defendants “knowingly and intentionally”

  agreed to act as agents. This is all the law requires.

                                                    CONCLUSION

           As defendants’ arguments are premised on an overreading of Ruan, their motion for

  reconsideration is therefore DENIED.


  SO ORDERED.                                         Digitally signed by
                                                      Brian    M. Cogan
                                                       ______________________________________
                                                                                U.S.D.J.

  Dated: Brooklyn, New York
         August 21, 2022




  2
    Defendants’ argument that Section 951 does not fall into the “few exceptions” where the “presumption of scienter
  does not apply, including “regulatory or public welfare offense[s]”, is also incorrect. Ruan, 142 S. Ct. at 2371. The
  exceptions to which defendants refer are strict liability offenses, meaning that they require no scienter at all nor that
  the Government prove that an accused had knowledge of the facts that make his actions criminal. No one has
  suggested that Section 951 is such an offense.
